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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                    CRIMINAL ACTION

VERSUS                                                      NO. 07-352

NEY SOLIS1                                                  SECTION "N"
     a/k/a ENRIQUE ORDONEZ MENDEZ
     a/k/a GILBERTO CORDERO VELEZ
     a/k/a TITO

                                   ORDER AND REASONS

               Presently before the Court is a motion to vacate filed by Defendant pursuant to 28

U.S.C. §2255. See Rec. Docs. 660 and 674.2 Having carefully considered the parties' submissions

and applicable law, including the affidavit from Defendant's counsel, Steven Lemoine,3 IT IS

ORDERED that Defendant's motion is DENIED for essentially the reasons set forth in the

Government's comprehensive and well-reasoned opposition memoranda (Rec. Docs. 670 and 677).4


       1
              Although originally charged as under the name Enrique Ordonez Mendez,
Defendant's correct name apparently is Ney Solis. See February 16, 2011 Sentencing Transcript
(Sealed Rec. Doc. 668), p. 3.
       2
              Defendant's October 14, 2014 motion for sentence reduction pursuant to 18 U.S.C.
§3582(c) and Amendment 782 to the United States Sentencing Guidelines (Rec. Doc. 720) will be
addressed by separate order.
       3
               See Rec. Doc. 670-3.
       4
               A petitioner’s motion under 28 U.S.C. § 2255 will be dismissed without an
evidentiary hearing if it can be concluded on the record as a matter of law that petitioner cannot
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Regarding the knowing nature of Defendant's January 7, 2009 guilty plea, the Court additionally

notes that, at his February 2011 sentencing, Defendant, in response to the Court's query, re-affirmed

his desire to plead guilty notwithstanding the Court advising that his conviction would render

deportation, if ordered by the United States Attorney General, presumptively mandatory.5 At

sentencing, the Court also again found Defendant's guilty plea knowledgeable and voluntary as it

had during the January 7, 2009 proceeding and confirmed that defense counsel was satisfied that

Defendant was pleading guilty voluntarily and with full knowledge of consequences of his plea.6

                Additionally, regarding the possible downward departure, pursuant to § 5H1.1 of the

United States Sentencing Guidelines (U.S.S.G.), concerning "Mental and Emotional Conditions

(Policy Statement)," asserted by Defendant in his motion, Defendant, at re-arraignment, informed

the Court that he had been under the care of a doctor in the past, denied taking any medication at that


establish one or both of the elements necessary to establish his constitutional claim. United States
v. Walker, 68 F.3d 931, 934 (5th Cir. 1995)(citing United States v. Acklen, 47 F.3d 739, 743-44 (5th
Cir. 1995)). Discovery under § 2255 is limited, and the petitioner has not satisfied the “good cause”
test of Rule 6 of the Rules Governing § 2255 Proceedings. See, e.g., West v. Johnson, 92 F.3d 1385,
1399-1400 (5th Cir. 1996) (conclusory allegations are not enough to warrant discovery; “the
petitioner must set forth specific allegations of fact; Rule 6, which permits the district court to order
discovery on good cause shown, does not authorize fishing expeditions”) (citation and internal
quotation marks omitted); Murphy v. Johnson, 205 F.3d 809, 817 (5th Cir. 2000) (permitting
discovery or evidentiary hearing on “conclusory and speculative claim” would be “tantamount to
a fishing expedition”).
        5
               See February 16, 2011 Sentencing Transcript (Sealed Rec. Doc. 668), pp. 4-6. This
query was made at the request of Assistant United States Attorney Emily Greenfield in light of the
United States Supreme Court's opinion in Padilla v. Kentucky, 130 S. Ct. 1473, 1483 (2010)
(addressing defense counsel's duty to advise a non-citizen defendant regarding the risk of
deportation or removal in connection with a guilty plea). As the transcript reflects, the Court
additionally inquired whether Defendant wanted to discuss the matter further with his attorney or
had questions for the Court. Defendant did not. See February 16, 2011 Sentencing Transcript
(Sealed Rec. Doc. 668), p. 5.
        6
              See February 16, 2011 Sentencing Transcript (Sealed Rec. Doc. 668), p. 6 ; January
7, 2009 Re-arraignment Transcript (Rec. Doc. 670-1), pp. 13-42.

                                                   2
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time of sentencing, and expressly confirmed that he understood the purpose of that proceeding.7

Thereafter, at sentencing, Defendant confirmed that he had read (or had read to him) the Pre-

Sentence Investigation Report ("PSR"), reflecting that Defendant "stated that he has never been

seen by mental health professionals and describes his overall mental and emotional health as good.

There is no evidence to suggest otherwise."8

                Defendant also took advantage of the opportunity, at sentencing, to speak to the

Court in mitigation of punishment prior to the imposition of sentence. During that time, Defendant

made no reference to current or prior mental health concerns. Rather, he offered thanks to the Court,

defense counsel, Government counsel, and FBI agent John Sablatura.9 In any event, § 5H1.1

indicates that mental and emotional conditions may be relevant in determining whether a possible

departure is warranted only if "such conditions . . . are present to an unusual degree and distinguish

the case from the typical cases covered by the guidelines."10 There is no indication that such

circumstances exist here. Rather, the Government's memoranda, the affidavit from defense

counsel,11 the re-arraignment and sentencing transcripts, particularly including the testimony offered

at sentencing by Agent Sablatura, and the motion previously filed by the Government12 strongly



       7
               See January 7, 2009 Re-arraignment Transcript (Rec. Doc. 670-1), pp. 15-16.
       8
               PSR, ¶76.
       9
               See February 16, 2011 Sentencing Transcript (Sealed Rec. Doc. 668), pp. at 9-10.
       10
               See U.S.S.G. § 5H1.3.
       11
               The Government's memoranda and defense counsel's affidavit reflect a reasonable
investigation of the mental health concerns mentioned in Defendant's February 2010 letter to
Government counsel. See Rec. Doc. 670 , pp. 4-5; Rec. Doc. 670-3.
       12
               See Sealed Rec. Docs. 651-52.

                                                  3
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suggest the contrary. Given the foregoing, as well as the actual sentence imposed, the Court finds

no basis to conclude that Defendant suffered any prejudice relative to the information provided to

the Court regarding his mental health history.

               Accordingly, for the reasons stated, the Court finds no basis to find that Defendant

lacked mental competence at the time he entered his guilty plea or at sentencing, that Defendant's

guilty plea was anything other than knowing or voluntary, or that Defendant's motion otherwise has

merit. Accordingly, Defendant's motion is denied.

               New Orleans, Louisiana, this 23rd day of January 2015.


                                                     _____________________________________
                                                            KURT D. ENGELHARDT
                                                            United States District Judge




                                                 4
